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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:                              )                         Case No. 6:14-bk-2298-ABB
                                    )
FREDDY G. ALVARADO                  )                         Chapter 13
ANABELLA T. OKRASSA                 )
                                    )
      Debtors.                      )
____________________________________)

                 MOTION TO MODIFY CONFIRMED CHAPTER 13 PLAN

                              NOTICE OF OPPORTUNITY TO
                           OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
 further notice or hearing unless a party in interest files a response within twenty-one (21) days
 from the date set forth on the attached proof of service, plus an additional three days for service
 if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the
 Court at 400 W. Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy on the
 movant’s attorney, Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC, 4767 New Broad Street,
 Orlando, Florida 32814, and any other appropriate persons within the time allowed. If you file
 and serve a response within the time permitted, the Court will either schedule and notify you of
 a hearing or consider the response and grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not
 oppose the relief requested in the paper, will proceed to consider the paper without further notice
 or hearing, and may grant the relief requested.

       The Debtors, FREDDY ALVARADO and ANABELLA OKRASSA, by and through the
undersigned counsel, and pursuant to 11 U.S.C. § 1329, hereby file this Motion to Modify
Confirmed Plan, and in support thereof further state as follows:

         1. The Debtors’ confirmed chapter 13 plan was modified to include post-petition tax debt
            to the Internal Revenue Service for the tax years 2015 and 2016.

         2. The Debtors’ plan payments increased from $2,622 to $5,172 in order to pay Amended
            Claim 2-4.

         3. The Debtors are unable to afford monthly payments in the amount of $5,172.



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       4. The Debtors have obtained a family loan from Ms. Okrassa’s sister to pay the IRS in
          full for the tax years 2015, 2016 and 2017. A copy of the cashier’s check made payable
          and sent to the IRS in the amount of $27,047.00 is attached hereto as Exhibit “A.”

       5. The Debtors propose to pay the IRS outside the plan and to continue with its monthly
          payments of $3,060.00. A copy of the proposed spreadsheet is attached hereto as
          Exhibit “B.”

         WHEREFORE, the Debtors, FREDDY ALVARADO and ANABELLA OKRASSA,
respectfully requests this Honorable Court enter an Order modifying their plan to conform to the
trial loan modification agreement pursuant to 11 U.S.C. § 1329, and granting any such relief that
this Court deems just and proper under the circumstances.

                                      Certificate of Service

       I hereby certify that a true and correct copy of the foregoing was served via CM/ECF and
U.S. Mail, first class and postage prepaid, on all parties-in-interest listed on the attached Mailing
Matrix, this 25th day of July, 2018.

                                              ___/s/ Aldo G. Bartolone, Jr._____
                                              ALDO G. BARTOLONE, JR.
                                              Florida Bar No. 173134
                                              BARTOLONE LAW, PLLC
                                              4767 New Broad Street
                                              Orlando, Florida 32814
                                              Telephone: (407) 294-4440
                                              Facsimile: (407) 287-5544
                                              E-mail: aldo@bartolonelaw.com
                                              Attorney for Debtors




                                                 2
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                                                                       Case 6:14-bk-02298-ABB                                    Doc 113              Filed 07/25/18                     Page 4 of 6

DUE DATE          14-2298 B         ALVARADO                 MODIFIED                  CLAIM 350           CLAIM 002-3         CLAIM 004           CLAIM 300           CLAIM 302            CLAIM 001                             CLAIM 4
    30TH           3/1/2014                          6.0%                            MONITORING                 PRI             US BANK           MEDIATION            SECURED           WELLS FARGO          TIMBER            US BANK
                 Unsecured          Debtor Pmt    Tee Fee           ATTY                    FEE                    IRS             MTG.                 FEE                  IRS            VW JETTA     SPRINGS HOA      Post-Pet Arrears
            60              60                                                                                                                                                                                                  $7,343.16
 3/1/2014    1        $0.00           $2,110.00   $126.60 1 at    $407.40                                                        $1,016.00 1 at      $350.00                                   $210.00     LIEN STRIP
 4/1/2014    2        $0.00           $2,110.00   $126.60         $757.40                                                        $1,016.00                                                     $210.00
 5/1/2014    3        $0.00           $2,110.00   $126.60         $757.40                                                        $1,016.00                                                     $210.00       CLAIM 5
 6/1/2014    4        $0.00           $2,110.00   $126.60 3 at    $757.40                           4 at                         $1,016.00                      4 at                           $210.00
 7/1/2014    5      $145.50           $2,110.00   $126.60 1 at    $320.40                                      $211.50           $1,016.00                                $80.00               $210.00
 8/1/2014    6      $465.90           $2,110.00   $126.60                                                      $211.50           $1,016.00                                $80.00               $210.00
 9/1/2014    7      $465.90           $2,110.00   $126.60                                                      $211.50           $1,016.00                                $80.00               $210.00
10/1/2014    8      $465.90           $2,110.00   $126.60                                                      $211.50           $1,016.00                                $80.00               $210.00         BELLA
11/1/2014    9      $465.90           $2,110.00   $126.60                                                      $211.50           $1,016.00                                $80.00               $210.00          VIDA
12/1/2014   10      $465.90           $2,110.00   $126.60                    10 at                             $211.50           $1,016.00                                $80.00 10 at         $210.00           HOA
 1/1/2015   11      $436.09 11 at     $2,110.00   $126.60                                 $50.00               $211.50 11 at     $1,016.00                                $80.00               $189.81
 2/1/2015   12      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81     LIEN STRIP
 3/1/2015   13      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 4/1/2015   14      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81       CLAIM 3
 5/1/2015   15      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 6/1/2015   16      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 7/1/2015   17      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 8/1/2015   18      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 9/1/2015   19      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
10/1/2015   20      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
11/1/2015   21      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
12/1/2015   22      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 1/1/2016   23      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 2/1/2016   24      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 3/1/2016   25      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 4/1/2016   26      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 5/1/2016   27      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 6/1/2016   28      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 7/1/2016   29      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 8/1/2016   30      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 9/1/2016   31      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
10/1/2016   32      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
11/1/2016   33      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
12/1/2016   34      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 1/1/2017   35      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 2/1/2017   36      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 3/1/2017   37      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 4/1/2017   38      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 5/1/2017   39      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 6/1/2017   40      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 7/1/2017   41      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 8/1/2017   42      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 9/1/2017   43      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
10/1/2017   44      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
11/1/2017   45      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
12/1/2017   46      $180.61           $2,622.00   $157.32                                 $50.00               $211.50           $1,752.76                                $80.00               $189.81
 1/1/2018   47      $180.61 36 at     $2,622.00   $157.32                                 $50.00               $211.50 36 at     $1,752.76                                $80.00               $189.81                  47 at
 2/1/2018   48      $123.58 1 at     $11,000.00   $660.00                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81                   1 at    $7,343.16
 3/1/2018   49        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
 4/1/2018   50        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
 5/1/2018   51        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
 6/1/2018   52        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
 7/1/2018   53        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
 8/1/2018   54        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
 9/1/2018   55        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
10/1/2018   56        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
11/1/2018   57        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
12/1/2018   58        $3.14           $3,060.00   $183.60                                 $50.00               $211.50           $2,341.95                                $80.00               $189.81
 1/1/2019   59        $3.14           $3,060.00   $183.60                                 $50.00 55 at         $211.50           $2,341.95                     55 at      $80.00 49 at         $189.81
 2/1/2019   60       $81.14 12 at     $3,060.00   $183.60                    50 at        $50.00 1 at          $201.28 13 at     $2,341.95                                $11.78 1 at          $190.25

                  $9,652.31         $165,322.00 $9,919.32        $3,000.00              $2,500.00           $11,833.78         $104,720.71           $350.00            $4,411.78           $11,590.94                           $7,343.16
                 $150,556.47                                        ATTY               CLAIM 350           CLAIM 002-3         CLAIM 004          CLAIM 300            CLAIM 302            CLAIM 001
                         6%                                      $3,000.00               2500.00              11833.78          ONGOING               350.00             4411.78              11590.94
                                                                                                                                 96324.48                               PD.W/3%            ORD.8/20/14
                                                                                                                                   PERM.                                                     10,175.00
                                                                                                                               LOAN MOD.                                                   PLUS 5.25%
Label Matrix for local noticingCase 6:14-bk-02298-ABB         DocA 113
                                                Christiana Trust,   Division Filed  07/25/18
                                                                             of Wilmington     Page    5 ofTrust,
                                                                                                Christiana   6 Div. Wilmington Sav. Fund
113A-6                                         Selene Finance LP                                c/o Carrington Mortg. Servs.
Case 6:14-bk-02298-ABB                         P.O. Box 71243                                   1610 East Saint Andrew Place, Suite B150
Middle District of Florida                     Philadelphia, PA 19176-6243                      Santa Ana, CA 92705-4931
Orlando
Wed Jul 25 21:10:17 EDT 2018
SN Servicing Corporation as Servicing Agent    Timber Springs Homeowners Association, Inc.      U.S. Bank Trust National Association, as Tru
BERGER FIRM P.A.                               c/o The Association Law Firm, PLLC               323 5th Street
c/o Chase A. Berger, Esq.                      135 W Central Blvd                               Eureka, CA 95501-0305
3050 Biscayne Blvd. - Suite 402                Suite 1150
Miami, FL 33137-4143                           Orlando, FL 32801-2479

United States Trustee - ORL7/13 7               Wells Fargo Bank, N.A., d/b/a Wells Fargo De    Bank of America
Office of the United States Trustee             c/o Alison Verges Walter, Esq.                  450 American St
George C Young Federal Building                 P.O. Box 707                                    Simi Valley, CA 93065-6285
400 West Washington Street, Suite 1100          Tampa, FL 33601-0707
Orlando, FL 32801-2210

Bella Vida at Timber Springs HOA, Inc.          Cap One                                         Christiana Trust, Div. Wilmington Sav. Fund
c/o Mankin Law Group                            Po Box 5253                                     Tr. Normandy Mortg. Loan Trust, 2013-4
2535 Landmark Drive                             Carol Stream, IL 60197-5253                     c/o Selene Finance LP
Suite 212                                                                                       9990 Richmond Avenue, Suite 400
Clearwater, FL 33761-3930                                                                       Houston, TX 77042-4546

Christiana Trust, Division of Wilmington Sav    FL Emergency Phys Kang & Asc                    Florida Department of Revenue
201 E Pine Street Suite 730                     P.O. Box 1070                                   Bankruptcy Unit
Orlando FL 32801-2763                           Dept. 4131                                      Post Office Box 6668
                                                Charlotte, NC 28201-1070                        Tallahassee FL 32314-6668


Florida Hospital                                IC System                                       IC System
Patient Financial Services                      Attn: Bankruptcy                                Po Box 64378
P.O. Box 538800                                 444 Highway 96 East; Po Box 64378               Saint Paul, MN 55164-0378
Orlando, FL 32853-8800                          St. Paul, MN 55164-0378


Internal Revenue Service                        Lender Legal Services LLC                       Orange County Tax Collector
PO Box 7346                                     201 E. Pine Street                              Attn: Earl K. Wood
Philadelphia, PA 19101-7346                     Suite 730                                       Post Office Box 2551
                                                Orlando, FL 32801-2763                          Orlando FL 32802-2551


Phx Mgmt Sol (Original Creditor:06 Great        Renaissance at Richen Park                      Smith, Hiatt & Diaz
10000 N 31st Av Suite C-301                     16998 SW Richen Park Circle                     P.O. Box 11438
Phoenix, AZ 85051-9569                          Sherwood, OR 97140-8682                         Fort Lauderdale, FL 33339-1438



The Association Law Firm                        Timber Springs HOA                              Timber Springs HOA, Inc.
135 W. Central Blvd.                            Law Offices of John Di Masi, P.A.               4019 Avalon Park East Blvd.
Suite 1150                                      801 N. Orange Ave., Ste. 500                    Orlando, FL 32828-7702
Orlando, FL 32801-2479                          Orlando, FL 32801-5202


U.S. Bank Trust National Association, as Tru    Vial Fotheringham LLP                           Wells Fargo Bank, N.A.
c/o SN Servicing Corp.,                         7000 SW Varn Street                             P.O. Box 19657
323 5th Street                                  Portland, OR 97223-8145                         Irvine, CA 92623-9657
Eureka, CA 95501-0305
Wells Fargo Dealer Services Case 6:14-bk-02298-ABB
                                            Wfb Cd Svc     Doc 113 Filed 07/25/18                       Page
                                                                                                         Aldo G 6 of 6 Jr
                                                                                                                Bartolone
P.O. Box 1697                               Credit Bureau Dispute Resoluti                                Bartolone Legal Group, PA
Winterville, NC 28590-1697                  Des Moines, IA 50306                                          4767 New Broad Street
                                                                                                          Orlando, FL 32814-6405


Anabella Tercero Okrassa                             Freddy G Alvarado                                    Laurie K Weatherford
1168 Bella Vida Blvd.                                1168 Bella Vida Blvd.                                Post Office Box 3450
Orlando, FL 32828-6758                               Orlando, FL 32828-6758                               Winter Park, FL 32790-3450




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Internal Revenue Service                          End of Label Matrix
Post Office Box 7346                                 Mailable recipients      35
Philadelphia PA 19101-7346                           Bypassed recipients       1
                                                     Total                    36
